Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 1 of 33




                      EXHIBIT B
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 2 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 3 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 4 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 5 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 6 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 7 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 8 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 9 of 33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 10 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 11 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 12 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 13 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 14 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 15 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 16 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 17 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 18 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 19 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 20 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 21 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 22 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 23 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 24 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 25 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 26 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 27 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 28 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 29 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 30 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 31 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 32 of
                                      33
Case 1:16-cv-23148-KMW Document 196-2 Entered on FLSD Docket 09/04/2018 Page 33 of
                                      33
